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                                                            Receipt number AUSFCC-10170686


                           UNITED STATES OF AMERICA
                       IN THE COURT OF FEDERAL CLAIMS

AFFORDABLE METAL LLC             )
                                 )
                 Plaintiff,      )
                                 )                   Case No.   25-160 T
      v.                         )
                                 )
UNITED STATES OF AMERICA         )
                                 )
                 Defendant.      )
_________________________________)

                                       COMPLAINT

       NOW COMES Plaintiff, Affordable Metal LLC (“Plaintiff”), by and through its

attorney, Timothy R. West, and files its Complaint against Defendant, United States of

America (“Defendant”), alleging as follows:

                                           Parties

       1.     Plaintiff is a Michigan limited liability company with its principal place of

business and registered agent in Hastings, Michigan. Further, Plaintiff’s sole member is a

citizen of Michigan, making Plaintiff a citizen of Michigan.

       2.     Defendant is the United States of America, acting through its agency, the

Internal Revenue Service (“IRS”).

       3.     The Plaintiff has not begun any other lawsuits in state or federal court dealing

with the same or similar facts as this action.

       4.     A statement required under R.C.F.C. 9(m)(2)(B) is attached hereto as Exhibit

A.



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                                 Jurisdiction and Venue

      5.     This Court has jurisdiction pursuant to 28 U.S.C. § 1491.

                                    Legal Background

      6.     Plaintiff is claiming a refund of form 941 employment taxes and refundable

tax credits related to the Employee Retention Credit.

      7.     Employers are required by law to withhold federal income taxes and Federal

Insurance Contributions Act (“FICA”) taxes from their employees’ wages, remit these

withholdings, and report them to the IRS on tax form 941. 26 U.S.C. §§ 3102, 3111.

      8.     Employers are usually obligated to file IRS form 941 on a quarterly basis

with the IRS. 26 U.S.C. § 6011; 26 C.F.R. § 31.6071(a)-1.

                             The Employee Retention Credit

      9.     In response to the Coronavirus Pandemic, Congress passed the Coronavirus

Aid, Relief, and Economic Security Act (“CARES Act”), Pub. L. 116-136 (Mar. 27, 2020).

Section 2301 of the CARES Act provided a refundable tax credit called the Employee

Retention Credit (“ERC”) to eligible employers on qualified wages paid to their employees.

Pub. L. 116-136, § 2301. The ERC program was amended and extended under the

Consolidated Appropriations Act of 2021, Pub. L. 116-260, § 206 (Dec. 27, 2020), and the

American Rescue Plan Act of 2021, Pub. L. 117-2, § 3134 (Mar. 11, 2021), and terminated

under the Infrastructure, Investment and Jobs Act, Pub. L. 117-58, § 80604, (Nov. 15,

2021). See also 26 U.S.C. § 3134.

      10.    A business that is an eligible employer that pays qualified wages after March

12, 2020, and through December 31, 2021, is entitled to claim the Employee Retention

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Credit against its federal employment taxes on the applicable form 941 tax return for that

quarter.

       11.      Section 2301(b)(3) of the CARES Act states that if the amount of the credit

exceeds the amount of federal employment taxes for any applicable quarter, then the excess

is treated as an overpayment and refunded to the employer.

                              General Qualifying Requirements

                                   1) Threshold Requirements

       12.      An eligible employer is one that is defined as carrying on a trade or business

during calendar years 2020 and 2021 and, with respect to any calendar quarter for which

the business experienced one of the following:

             a. Its operations were fully or partially suspended due to orders issued by a

                governing authority in response to COVID-19 (“Full or Partial Suspension

                Test”) that limited commerce, travel, or group meetings or,

             b. The business experienced a significant decline in gross receipts (“The Gross

                Receipts Test”) for any calendar quarter of 2020 and/or 2021 compared to

                the corresponding quarter of 2019. 26 U.S.C. § 3134(c)(2).

                                     II) Qualified Wages

       13.      If an eligible employer had not more than 100 average full-time employees

in 2019, wages that were paid to an employee during quarters in 2020 constituted qualified

wages. Pub. L. 116-136, § 2301(c)(3).




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       14.    If an eligible employer had not more than 500 average full-time employees

in 2019, wages that were paid to an employee during the quarters in 2021 constituted

qualified wages. 26 U.S.C. § 3134(c)(3).

                                 III) Calculation of Credit

       15.    For 2020, the employee retention credit is limited to 50% of qualified wages

that an eligible employer pays to an employee in a calendar quarter. Pub. L. 116-136, §

2301(a). The maximum amount of qualified wages that the credit can be claimed against

is $10,000 per employee for the entire calendar year of 2020. § 2301(b)(1).

       16.    For 2021, the employee retention credit is limited to 70% of qualified wages

that an eligible employer pays in a calendar quarter. 26 U.S.C. § 3431(a). The maximum

amount of qualified wages that the credit can be claimed against is $10,000 per employee

per quarter in 2021. 26 U.S.C. § 3134(b)(1).

                                   Factual Background

       17.    Plaintiff operated a metal roofing business located in Hastings, Michigan

during 2019, 2020 and 2021.

       18.    Plaintiff had less than 100 full-time employees during the 2019 calendar year.

       19.    While Plaintiff applied for and received loan forgiveness under the Paycheck

Program, the Plaintiff did not include wages included on those applications in its

calculation of qualified wages in its claims for the ERC.

       20.    Plaintiff did not include the wages of any individual who directly or

indirectly owns more than 50% of Plaintiff or any relatives or spouses of any individuals

who directly or indirectly owns more than 50% of Plaintiff in its calculations to the ERC.

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       21.    Plaintiff is not a party to any employee leasing arrangement and did not

otherwise lease employees.

       22.    Plaintiff is not a part of an affiliated service group within the meaning

contained in 26 U.S.C. § 414(m).

       23.    Plaintiff is not a member of a consolidated group of corporations and is not

under common control with any other trades or businesses.

       24.    A major component of plaintiff’s business during 2019, 2020 and 2021

involved multiple employees working closely together, including traveling in the same

vehicle to customers’ locations to perform work.

       25.    On March 10, 2020, Michigan’s Governor Whitmer issued Executive Order

2020-4, which declared a state of emergency in Michigan due to COVID-19.

       26.    On March 23, 2020, Governor Whitmer issued Executive Order 2020-21,

which directed residents to remain at home or in their place of residence to the maximum

extent feasible. This Order went into effect as of 12:01am on March 24, 2020. Executive

Order 2020-21 ordered that the “order must be construed broadly to prohibit in-person

work that is not necessary to sustain human or protect life.”

       27.    The Order required all individuals who left their home or place of residence

to adhere to social distancing measures, including maintaining a minimum of six feet from

people outside their household.

       28.    Further, the Order required: “No person or entity shall operate a business or

conduct operations that require workers to leave their homes or places of residence except



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to the extent that those workers are necessary to sustain or protect life or to conduct

minimum basic operations.”

       29.    The Order also mandated: “In-person activities that are not necessary to

sustain or protect life must be suspended until normal operations resume.”

       30.    Plaintiff did not provide services necessary to sustain or protect life.

       31.    Moreover, the Order stated: “Businesses and operations maintaining in-

person activities must adopt social distancing practices and other mitigation measures to

protect workers and patrons” including “[r]estricting the number of workers present on

premises to no more than is strictly necessary to perform the business’s or operation’s

critical infrastructure functions.”

       32.    Executive Order 2020-21 was extended by Executive Order 2020-42.

       33.    On April 24, 2020, Governor Whitmer issued Executive Order 2020-59,

which broadened the number of people who could return to work but still imposed the same

social distancing requirements under the previous Executive Order that severely limited

business operations such that Plaintiff was partially suspended.

       34.    On May 1, 2020, Governor Whitmer issued Executive Order 2020-70, which

also allowed certain workers to return to work but again required social distancing such

that Plaintiff could not operate his business at full force and was partially suspended.

       35.    Likewise, on May 7, 2020, Executive Order 2020-77 followed again

requiring Plaintiff to institute social distancing at his workplace such that he could not

operate at full force and was partially suspended.



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      36.     Executive Order 2020-96 (as extended by Executive Order 2020-100),

Executive Order 145, Executive Order 161, Executive Order 183 and others all placed

significant limitations on the operations of Plaintiff’s business that caused a partial

shutdown of his business.

      37.     These government limitations which caused Plaintiff to be partially shut

down were not removed until June 17, 2021, with the issuing of the Michigan Department

of Health and Human Services “Rescission of Emergency Orders.”

                                        COUNT I

               Plaintiff Refund Claim on 941-X for Second Quarter 2020

      38.     On April 15, 2024, Plaintiff signed an amended IRS Form 941-X for the

   taxable period ending June 30, 2020, claiming a refund of tax and ERC in the amount

   of $43,793.67 plus interest. Attached hereto as Exhibit B.

      39.     The IRS Account Transcripts confirm the receipt on April 22, 2024, and

   reflects a forwarded for processing date of April 22, 2024. A true and correct copy of

   the Account Transcript for second quarter 2021 is attached hereto as Exhibit C.

      40.     More than six months have elapsed since the Plaintiff’s claim was filed with

   the IRS.

      41.     There is currently no outstanding balance owed from the Plaintiff for second

   quarter 2020.

      42.     Plaintiff qualified as an eligible employer for this quarter under the Full or

   Partial Suspension Test.



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   43.     Plaintiff paid qualifying wages of $87,587.34 second quarter 2020 and

calculated an ERC of $43,793.67.

                                      COUNT II

                Plaintiff Refund Claim on 941-X for Third Quarter 2020

   44.     On April 15, 2024, Plaintiff signed an amended IRS Form 941-X for the

taxable period ending September 30, 2020, claiming a refund of tax and ERC in the

amount of $25,703.31 plus interest. Attached hereto as Exhibit D.

   45.     The IRS Account Transcripts confirm the receipt on April 22, 2024, and

reflects a forwarded for processing date of April 22, 2024. A true and accurate copy of

the Account Transcript for third quarter 2020 is attached hereto as Exhibit E.

   46.     More than six months have elapsed since the Plaintiff’s claim was filed with

the IRS.

   47.     There is currently no outstanding balance owed from the Plaintiff for third

quarter 2020.

   48.     Plaintiff qualified as an eligible employer for this quarter under the Full or

Partial Suspension Test.

   49.     Plaintiff paid qualifying wages of $51,046.62 third quarter 2020 and

calculated an ERC of $25,703.31.

                                      COUNT III

                Plaintiff Refund Claim on 941-X for Fourth Quarter 2020




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   50.     On April 15, 2024, Plaintiff signed an amended IRS Form 941-X for the

taxable period ending December 31, 2020, claiming a refund of tax and ERC in the

amount of $32,580.77 plus interest. Attached hereto as Exhibit F.

   51.     The IRS Account Transcripts confirms receipt on April 22, 2024, and reflects

a forwarded for processing date of April 22, 2024. A true and correct copy of the

Account Transcript for fourth quarter 2020 is attached hereto as Exhibit G.

   52.     More than six months have elapsed since the Plaintiff’s claim was filed with

the IRS.

   53.     The Account Transcript shows an outstanding balance for fourth quarter

2020.

   54.     Plaintiff qualified as an eligible employer for this quarter under the Full or

Partial Suspension Test.

   55.     Plaintiff paid qualifying wages of $65,161.54 fourth quarter 2020 and

calculated an ERC of $32,580.77 for fourth quarter 2020.

                                      COUNT IV

              Plaintiff Refund Claim on 941-X for First Quarter 2021

   56.     On June 3, 2024, Plaintiff signed an amended IRS Form 941-X for the

taxable period ending March 31, 2021, claiming a refund of tax and ERC in the amount

of $49,958.96 plus interest. Attached hereto as Exhibit H.

   57.     The IRS Account Transcripts confirm the receipt on July 1, 2024, and reflect

a forwarded for processing date of July 1, 2024. A true and correct copy of the Account

Transcript for first quarter 2021 is attached hereto as Exhibit I.

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   58.     More than six months have elapsed since the Plaintiff’s claim was filed with

the IRS.

   59.     There is currently no outstanding balance owed from Plaintiff for first quarter

2021.

   60.     Plaintiff qualified as an eligible employer for this quarter under the Full or

Partial Suspension Test.

   61.     Plaintiff paid qualifying wages of $71,369.94 first quarter 2021 and

calculated an ERC of $49,958.96 for first quarter 2021.

                                       COUNT V

             Plaintiff Refund Claim on 941-X for Second Quarter 2021

   62.     On June 3, 2024, Plaintiff signed an amended IRS Form 941-X for the

taxable period ending June 30, 2021, claiming a refund of tax and ERC in the amount

of $75,105.23 plus interest. Attached hereto as Exhibit J.

   63.     The IRS Account Transcripts confirm the receipt on July 1, 2024, and reflect

a forwarded for processing date of July 1, 2024. A true and accurate copy of the

Account Transcript for second quarter 2021 is attached hereto as Exhibit K.

   64.     More than six months have passed since the Plaintiff’s claim was filed with

the IRS.

   65.     The Account Transcript shows an outstanding balance for second quarter

2021.

   66.     Plaintiff qualified as an eligible employer for this quarter under the Full or

Partial Suspension Test.

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       67.    Plaintiff paid qualifying wages of $107,293.19 second quarter 2021 and

   calculated an ERC of $75,105.23 for second quarter 2021.



       WHEREFORE, Plaintiff prays that this Honorable Court award judgment in favor

of Plaintiff and against Defendant in the amount of $227,141.94 plus interest, costs and

attorney fees, and grant any further relief this Court may find appropriate.




                                                         Respectfully submitted,

                                                         /s/ Timothy R. West

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